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 1                                   UNITED STATES DISTRICT COURT

 2                                NORTHERN DISTRICT OF CALIFORNIA

 3                                       SAN FRANCISCO DIVISION

 4

 5       IN RE JUUL LABS, INC., MARKETING,               Case No. 19-md-02913-WHO
         SALES PRACTICES, AND PRODUCTS
 6       LIABILITY LITIGATION                            DECLARATION OF CAMERON R. AZARI,
                                                         ESQ., REGARDING ALTRIA
 7                                                       SETTLEMENT NOTICE PLAN
                                                         COMPLETION
 8       This Document Relates to:
         CLASS ACTIONS
 9

10

11            I, Cameron R. Azari, Esq., declare as follows:

12            1.     My name is Cameron R. Azari, Esq. I have personal knowledge of the matters set

13 forth herein, and I believe them to be true and correct.

14            2.     I am a nationally recognized expert in the field of legal notice, and I have served as

15 an expert in hundreds of federal and state cases involving class action notice plans.

16            3.     I am a Senior Vice President with Epiq Class Action & Claims Solutions, Inc.

17 (“Epiq”) and the Director of Legal Notice for Hilsoft Notifications (“Hilsoft”); a firm that

18 specializes in designing, developing, analyzing and implementing large-scale legal notification

19 plans. Hilsoft is a business unit of Epiq. All references to Epiq within this declaration include

20 Hilsoft Notifications.

21            4.     This declaration will confirm the implementation of the Settlement Notice Plan

22 (“Notice Plan”) and claim process regarding the Altria Class Settlement Agreement 1 in In re JUUL

23 Labs, Inc. Marketing, Sales Practices, and Products Liability Litigation, No. 19-md-02913-WHO,

24 in the United States District Court for the Northern District of California (the “Action”).

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     1
     As used in this Declaration, capitalized terms shall have the definitions and meanings ascribed
27 to them in the Altria Class Settlement Agreement attached as Exhibit 1 to the Declaration of
   Dena C. Sharp, or such definitions and meanings as are accorded to them elsewhere in this
28 Declaration.
                                                 1
           DECLARATION OF CAMERON R. AZARI, ESQ., REGARDING ALTRIA SETTLEMENT NOTICE PLAN
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 1                         PREVIOUS DECLARATIONS IN THIS ACTION

 2          5.     For the related settlement with JUUL in this same litigation, I previously executed

 3 several declarations that are filed with the Court. For the Altria Settlement, I executed my

 4 Declaration of Cameron R. Azari, Esq., in Support of Motion for Preliminary Approval of the Altria

 5 Class Settlement (“Altria Notice Plan Declaration”) on July 26, 2023, ECF No. 4082-16, which

 6 described the proposed Settlement Notice Plan and the proposed claim process regarding the Altria

 7 Class Settlement Agreement.

 8          6.     The facts in this declaration are based on my personal knowledge, as well as

 9 information provided to me by my colleagues in the ordinary course of my business at Epiq.

10                                            OVERVIEW

11          7.     On September 7, 2023, the Court approved the Settlement Notice Plan designed by
12 Hilsoft and appointed Epiq as the Settlement Administrator in the Order Granting Preliminary

13 Approval of Altria Settlement of Class Claims (“Preliminary Approval Order”), Dkt. 4130. In the

14 Preliminary Approval Order, the Court ordered that the Settlement Administrator should provide a

15 declaration attesting to the completion of the Settlement Notice Plan and compliance with

16 obligations set forth in the Preliminary Approval Order. The purpose of this declaration is to

17 comply with this requirement.

18          8.     After the Court’s Preliminary Approval Order was entered, Epiq began to implement
19 the Settlement Notice Plan. This declaration will confirm the completion of the Settlement Notice

20 Plan in compliance with the Preliminary Approval Order. The facts in this declaration are based on

21 my personal knowledge, as well as information provided to me by my colleagues in the ordinary

22 course of my business at Epiq.

23               SETTLEMENT NOTICE PLAN IMPLEMENTATION SUMMARY
24                                          Individual Notice
25          9.     Epiq previously received data from Class Counsel and counsel for defense for the
26 Juul Settlement in the form of email addresses and/or physical mailing addresses for millions of

27 identified individual purchasers (a substantial number of potential Class Members). This Class

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 1 Member data was used to provide Individual Notice as follows along with additional data from

 2 potential Class Members who submitted a Claim Form for the Juul Settlement:

 3                 1)     From October 9, 2023, through November 1, 2023, Epiq sent 8,312,007

 4 Email Notices to all identified Class Members for whom a valid email address was available.

 5                 2)     On November 6, 2023, Epiq sent 152,258 Double Postcard Notices with a

 6 Claim Form with prepaid return postage on the Claim Form (“Postcard Notice”). The Notices were

 7 sent via United States Postal Service (“USPS”) first-class mail to all identified Class Members

 8 (with known purchases of JUUL products), and an associated physical address to whom a valid

 9 email address was not available or undeliverable after multiple attempts.

10                                              Media Plan

11          10.    To reach the remainder of the Class, a comprehensive online media notice effort was

12 implemented. The Media Plan supplemented the Individual Notices with an Internet Digital Notice

13 Campaign and Sponsored Search Listings. The Internet Digital Notice Campaign included targeted

14 digital advertising placed on the Google Display Network and advertising on social media with

15 Digital Notices placed on Facebook, Instagram, Snapchat, TikTok, Twitter (X), YouTube, Telegram,

16 and Reddit. The Digital Notice Campaign commenced on October 9, 2023, and will conclude on

17 December 6, 2023. The Sponsored Search Listings on search engines Google, Yahoo!, and Bing

18 commenced on October 9, 2023, and will conclude on December 6, 2023.

19          11.    The Individual Notice and Media Notice were supplemented with an Informational

20 Release, which ran on October 9, 2023, over PR Newswire. In addition, the Informational Release

21 ran on October 9, 2023, over Uwire.

22                Case Website, Toll-free Telephone Number and Postal Mailing Address

23          12.    On March 15, 2023, a case website (www.JuulClassAction.com) and a toll-free

24 telephone number (1-855-604-1734) were established for the Juul Settlement to allow Class

25 Members to obtain additional information about the Settlement. On October 6, 2023, the case

26 website and toll-free telephone number messaging were updated to add information regarding the

27 Altria Settlement. The existing postal mailing address and email address established for the Juul

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 1 Settlement, continue to be available for the Altria Settlement allowing Class Members to request

 2 additional information or ask questions via these channels.

 3                                          Claim Submissions

 4          13.     The deadline for Class Members to file a Claim Form for the Altria Settlement is not

 5 until February 5, 2024. Epiq has received approximately 2.2 million Claim Forms to date, which are

 6 currently under review. Though a complete review will not be completed until after the February

 7 5th deadline, it is expected that a substantial number of the claims received to date will likely be

 8 determined to be invalid.

 9                                             CONCLUSION

10          14.     The Settlement Notice Plan provided the best notice practicable under the

11 circumstances of this case, conformed to all aspects of Federal Rule of Civil Procedure 23,

12 comported with the guidance for effective notice articulated in the Manual for Complex Litigation

13 4th Ed, and was consistent with the Federal Judicial Center’s Judges’ Class Action Notice and

14 Claims Process Checklist and Plain Language Guide (2010).

15          15.     After the Settlement Notice Plan effort is fully completed on December 6, 2023,

16 final details, including the number of media impressions delivered, will be available. Prior to the

17 Final Approval Hearing and consistent with the schedule established by the Court, I will provide a

18 comprehensive Settlement Notice Plan Implementation Declaration to the Court, which will include

19 all notice implementation details, notice and settlement administration statistics, confirm the

20 delivered reach and adequacy of the Settlement Notice Plan as implemented, report on any opt-outs

21 received, and address any objections received that may relate to the Settlement Notice Plan. The

22 Settlement Notice Plan Implementation Declaration will be filed with the Court in conjunction with

23 the Motion for Final Approval prior to the Final Approval Hearing.

24          I declare under penalty of perjury that the foregoing is true and correct. Executed on

25 December 5, 2023.

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                                                  Cameron R. Azari, Esq.
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        DECLARATION OF CAMERON R. AZARI, ESQ., REGARDING ALTRIA SETTLEMENT NOTICE PLAN
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